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IN THE UNITED sTA'rEs I)IsTRIcT coURT

FOR THE DISTRICT OF MARYLAND cwa w omm`§ramm

B'|BTRHTWMM

IN THE MATTER OF THE SEARCH OF Case No. 2 z g 55 &qjgsw

THE SUB.IECT DEVICES CURRENTLY IN
THE UNITED STATES DRU_G
ENFORCEMENT AI)MINISTRATION’S
POSSESSION AT THE BALTIMORE
DISTRICT OFFICE LOCATED IN
BALTIMORE, MARYLAND (LISTED ON
ATTACHMENT “A”)

 

AFFIDAVIT IN SUPPORT OF A SEARCH AND SEIZURE WARRANT

I, GLENN I-IE§`»TER, being duly sworn, depose and state as follows:

INTRODUCTION

1. Your Afflant makes this Affidavit in support of an application under Federal Rule
of Criminal Procedure 41 for a search Warrant authorizing the examination of four cellular
telephones and two computers as described in Attachment “A” (collectively referred to as the
“SUBJECT DEVICES”) Which are in the United States Drug Enforcement Administration’s
possession at the Baltimore District Office in Baltimore, Maryland, and the extraction of
electronically stored information identified in Attachment “B” from those devices pursuant to the
search protocol set forth in Attachment “C.”

2. Investigators found and seized the SUBJECT DEVICES While executing search
warrants issued by United States Magistrate Judge J. Mark Coulson on February 13, 2019. (The
Warrant (No. 19-0585 lMC) and affidavit submitted in support of it are attached as Exhibit l and
incorporated by reference herein.)

3. Your Affiant submits that probable cause exists to believe that the SUB]ECT

DEVICES contain evidence of violations of Title 21 U.S.C. § 846 (Conspiracy to Distribute and

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Possess with Intent to Distribute Controlled Substances), violations of Title 18 U.S.C. § 3147
(Commission of a Crime while on Release), Maryland Criminal Code §5-701 (Unauthorized
Dispensing of a Prescription Medication), Title 18 U.S.C. § 1513 (Retaliating Against a Witness),
and Title 18 U.S.C. § 1958 (Murder for Hire); or the SUBJECT DEVICES were designed for use,
intended for use, or used in committing the aforementioned crimes
IDENTIFICATION OF THE DEVICES
4. As detailed further on Attachment A, the SUBIECT DEVICES_all of which are

in the DEA’s possession at the Baltimore District Office in Baltimore, Maryland_is as follows:

 

 

 

 

 

 

 

 

 

 

 

 

ITEM DESCRIPTI()N SEIZURE
t L()CATION
Cellphone No. 1 Black LG cellphone, Seized from the
IMEI:353934093715384;SN:809VTDN371538 person of David
Attachment “D” ROBINSON
Cellphone No. 2 Black LG cellphone with a cracked screen, Seized from
IMEI: 354063082587114; SN: 2015 Mercedes
704CQGW258711, Attachment “E” SUV
Cellphone No. 3 Black Apple IPhone, (Model A1784), IMEI: Seized from
356565081254643, Attachment “F” 2015 Mercedes
SUV
Cellphone No. 4 Apple IPhone 10s (IMEI: 353284077244104 Seized from
Model A1687, FCC-ID BCG-E2944A), Maisha
Attachment “G” MCCOY
Computer No. 1 Red HP laptop computer, SN: CNDSZSOKSS, 4 Coral Berry
(Model 15-AF075NR), Attachment “H” Court,
t - Baltimore, MD
Computer No 2 HP Pavilion computer, SN: MXX61603ZL, 4 Coral Berry
(Mode1550-1533W), Attachment “I” Court,
. Baltimore, MD
5. In your Affiant’s training and experience, your Affiant knows that the DEA has

stored the SUBJECT DEVICES in a manner in which their contents are, to the extent material to
this investigation, in substantially the same state as they were when the SUBJECT DEVICES first

came into the DEA’s possession The applied-for warrants would authorize the forensic

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examination of the SUBJECT DEVICES for the purpose of identifying electronically stored data
particularly described in Attachment B.
YOUR AFFIANT

6. Your Affiant has been a police officer of the Baltimore Police Department since
February 1986. He has been assigned as a Task Force Officer (“TFO”) with the DEA’s Tactical
Diversion Squad in Baltimore, Maryland, since approximately May 2005. In this role, your Affiant
investigates criminal violations related to the diversion of pharmaceutical controlled dangerous
substances and prescription medications

7. Your Affiant has participated in numerous investigations of unlawful drug 7
distribution involving the use of undercover officers, confidential informants, and undercover
transactionsl In addition, he has conducted physical surveillance, telephone toll analysis, and
investigative interviews; applied for and executed search warrants; and assisted in the recovery of
substantial quantities of narcotics, pharmaceutical controlled substances, proceeds thereof, and
related paraphernalia Moreover, your Affiant- has interviewed individuals involved in the
controlled dangerous substance (“CDS”) trafficking trade, including drug dealers and users as well
as confidential informants, and among the topics covered during such interviews are the habits,
lifestyles, and terminology in the CDS trafficking trade.

8. Through your Affiant’s training, knowledge and experience, lie has become
familiar with the manner in which CDS traffickers transport, store, “stash,” manufacture, and
distribute CDS; the methods by which such traffickers collect and conceal the proceeds of their
illegal activities; and the manner in which CDS traffickers use cellular telephones and other
electronic devices like computers to facilitate illegal activities and hamper law enforcement

investigations

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9. The facts set forth in this Affidavit are based upon your Affiant’s personal
knowledge, review of documents and other evidence related to this investigation, and
communications with other individuals who have personal knowledge of the events and
circumstances described herein as well as information gained through training and experience
This Affidavit does not contain all of the information known to your Affiant regarding this
investigation Your Affiant has included only the facts that are sufficient to support a probable
n cause finding for the issuance of the requested warrant and does not purport to include each and
every matter of fact observed or known to your Affiant or other law enforcement officers involved
nidnsinvesugadon.

Use of Electronic Devices by CDS Traffickers

10. Based upon your Affiant’s training, experience, and participation in other CDS
trafficking investigations he knows that individuals involved in drug trafficking, including those
involved in the diversion of pharmaceutical drugs often do the following:

a. Maintain books records and other documents that relate to the

n manufacture, transportation, possession, and distribution of controlled substances where they have
such information readily accessible to them, including their homes offices and electronic devices
such as cellular telephones and personal digital assistants (“PDAS”).

b. Store the names addresses and/or telephone numbers of associates
in their drug trafficking activities on cellular telephones

c. 7 Use cellular telephones to communicate with their customers and/or co-
conspirators via voice calls and text messages. Text messages voice messages records of
incoming and outgoing communications emails are often stored on electronic devices such as cell

phones

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d. Use multiple cellular telephones and electronic devices in an effort to
conceal their activities
e. Keep logs of drug debts owed by customers or to suppliers commonly
referred to as an “owe sheet” or a “tally sheet” on their cellular telephones or other electronic
devices d
11. Based on my training and experience, 1 use the following technical terms to convey
the following meanings
a. Wireless telephone: A wireless telephone (or mobile telephone, or
cellular telephone) is a handheld wireless device used for voice and
data communication through radio signals These telephones send
signals through networks of transmitter/receivers enabling
communication with other wireless telephones or traditional “land
line” telephones A wireless telephone usually contains a “call log,”
;which records the telephone number, date, and time of calls made to
and from the phone. In addition to enabling voice communications
wireless telephones offer a broad range of capabilities These
capabilities include: storing names and phone numbers in electronic
“address books;” sending, receiving, and storing text messages and
e-mail; taking, sending, receiving, and storing still photographs and
moving video; storing and playing back audio files; storing dates
appointments and other information on personal calendars; and
accessing and download'mg information from the Internet. Wireless

telephones may also include global positioning system (“GPS”)

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technology for determining the location of the device.

b. Digital camera: A digital camera is a camera that records pictures
as digital picture files rather'than by using photographic film.
Digital cameras use a variety of fixed and removable storage media
to store their recorded images Images can usually be retrieved by
connecting the camera to a computer or by connecting the
removable storage medium to a separate reader. Removable storage
media include various types of flash memory cards or miniature hard
drives Most digital cameras also include a screen for viewing the
stored images This storage media can contain any digital data,
including data unrelated to photographs or videos

c. Portable media player: A portable media player (or “l\/IP?) Player”
or iPod) is a handheld digital storage device designed primarily to
store and play audio, video, or photographic files However, a
portable media player can also store other digital data. Some
portable media players can use removable storage media.
Removable storage media include various types of flash memory
cards or miniature hard drives This removable storage media can
also store any digital data. Depending on the model, a portable
media player may have the ability to store very large amounts of
electronic data and may offer additional features such as a calendar,
contact list, clock, or games

d. GPS: A GPS navigation device uses the Global Positioning System
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to display its current location It often contains records the locations
where it has been. Some GPS navigation devices can give a user
driving or walking directions to another location These devices can
contain records of the addresses or locations involved in such
navigation The Global Positioning System (generally abbreviated
“GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each
satellite contains an extremely accurate clock. Each satellite
repeatedly transmits by radio a mathematical representation of the
current time, combined with a special sequence of numbers These
signals are sent by radio, using specifications that are publicly
available A GPS antenna on Earth can receive those signals When
a GPS antenna receives signals from at least four satellites a
computer connected to that antenna can mathematically calculate
the antenna’s latitude, longitude, and sometimes altitude with a high
level of precision

e. PDA: A personal digital assistant, or PDA, is a handheld electronic
device 7 used for storing data (such as names addresses
appointments or notes) and utilizing computer programs Some
PDAs also function as wireless communication devices and are used
to access the Internet and send and receive e~mail. PDAs usually
include a memory card or other removable storage media for storing
data and a keyboard and/or touch screen for entering data.

Removable storage media include various types of flash memory

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cards or miniature hard drives This removable storage media can
store any digital data. Most PDAs run computer software, giving
them many of the same capabilities as personal computers For
example, PDA users can work with word-processing documents
spreadsheets and presentations PDAs may also include global
positioning system (“GPS”) technology for determining the location
of the device.
f. IP Address: An Internet Protocol address (or simply “IP address”)
is a unique numeric address used by computers on the Internet. An
IP address is a series of four numbers each in the range 0-255,`
separated by periods (e.g., 121.56.97.1'[8). Every computer
attached to the Internet computer must be assigned an IP address so
that Internet traffic sent from and directed to that computer may be
directed properly from its source to its destination Most lnternet
service providers control a range of IP addresses Some computers
have static_that is long-term_IP addresses while other
computers have dynamic_that is frequently changed_IP
addresses
g. lnternet: The Internet is a global network of computers and other
electronic devices that communicate with each other. Due to the
structure of the Internet, connections between devices on the
/ lnternet often cross state and international borders even when the

devices communicating with each other are in the same state.

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12. Based on my training, experience, and research, I know that Cellphone Nos. 1 - 4
have capabilities that allow them to serve as a wireless telephone, digital camera, portable media
player, GPS navigation device, and PDA. In my training and experience, examining data stored
on devices of this type can uncover, among other things evidence that reveals or suggests who
possessed or used the device.

13. Based on my training, experience, and research, I know that Computers Nos. 1 ~ 2
have capabilities that allow them to store data, create documents and access the internet using IP
addresses In my training and experience, examining data stored on devices of this type can
uncover, among other things evidence that reveals or suggests who possessed or used the device.

ELECTRONIC STORAGE AND FORENSIC ANALYSIS

14. Based on my knowledge, training, and experience, I know that SUBJECT
DEVICES can store information for long periods of time. Similarly, things that have been viewed
via the Internet are typically stored for some period of time on the device. This information can
sometimes be recovered with forensics tools

15. There is probable cause to believe that things that were once stored on Computer
Nos. 1-2 may still be stored there, for at least the following reasons:

a. Based on my knowledge, training, and experience, l know that
` computer files or remnants of such files can be recovered months or
even years after they have been downloaded onto a storage medium,
deleted, or viewed via the Internet. Electronic files downloaded to

a storage medium can be stored for years at little or no cost. Even
when files have been deleted, they can be recovered months or years

later using forensic tools This is so because when a person

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“deletes” a file on a computer, the data contained in the file does not
actually disappear; rather, that data remains on the storage medium
until it is overwritten by new d'ata.

b. Therefore, deleted files or remnants of deleted files may reside in
free space or slack space-_that is in space on the storage medium
that is not currently being used by an active file_for long periods
of time before they are overwritten. In addition a computer’s
operating system may also keep a record of deleted data in a “swap”
or “recovery” file.

c. Wholly apart from user-generated files computer storage media_
in particular, computers’ internal hard drives_contain electronic
evidence of how a computer has been used, what it has been used
for, and who has used it. To give a few examples this forensic
evidence can take the form of operating system configurations
artifacts from operating system or application operation file system
data structures and virtual memory “swap” or paging files
Computer users typically do not erase or delete this evidence,
because special software is typically required for that task.
However, it is technically possible to delete this information

d. Similarly, files that have been viewed via the lnternet are sometimes
automatically downloaded into a temporary Internet directory or
“cache.”

16. Forensic evidence As further described in Attachment B, this application seeks
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permission to locate not only electronically stored information that might serve as direct evidence
of the crimes described on the warrant, but also forensic evidence that establishes how the Device
was used, the purpose of its use, who used it, and when There is probable cause to believe that
this forensic electronic evidence might be on the Device because:

a. Data on the storage medium can provide evidence of a file that was
once on the storage medium but has since been deleted or edited,
or of a deleted portion of a file (such as a paragraph that has been
deleted from a word processing file). On computers virtual
memory paging systems can leave traces of information on the
storage medium that show what tasks and processes were recently
active. Web browsers, e»mail programs and chat programs store
configuration information on the storage medium that can reveal
information such as online nicknames and passwords. Operating
systems can record additional information such as the attachment
of peripherals, the attachment of USB flash storage devices or
other external storage media, and the times the computer was in
use, Computer file systems can record information about the dates

files were created and the sequence in which they were created

b. Forensic evidence on a device can also indicate who has used or
controlled the device, This “user attribution” evidence is
analogous to the search for “indicia of occupancy” while executing

a search warrant at a residence.

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c. A person with appropriate familiarity with how an electronic
device works may, after examining this forensic evidence in its
proper context, be able to draw conclusions about how electronic
devices were used, the purpose of their use, who used them, and

when.

d. The process of identifying the exact electronically stored
information on a storage medium that is necessary to draw a`n
accurate conclusion is a dynamic process Electronic evidence is
not always data that can be merely reviewed by a review team and
passed along to investigators Whether data stored on a computer
is evidence may depend on other information stored on the
computer and the application of knowledge about how a computer
behaves. Therefore, contextual information necessary to
understand other evidence also falls within the scope of the

warrant.

e. Further, in finding evidence of how a device was used, the purpose
of its use, who used it, and when sometimes it is necessary to

establish that a particular thing is not present on a storage medium

17. Nature of examination Based on the foregoing, and consistent with Rule
41 (e)(Z)(B), the warrant I am applying for would permit the examination of the device consistent
with the warrant. The examination may require authorities to employ techniques including but

not limited to computer-assisted scans of the entire medium, that might expose many parts of the
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device to human inspection in order to determine whether it is evidence described by the warrant.

18. Manner of execution Because this warrant seeks only permission to examine a
device already in law enforcement’s possession the execution of this warrant does not involve the
physical intrusion onto a premises Consequently, 1 submit there is reasonable cause for the Court
to authorize execution of the warrant at any time in the day or night.

PROBABLE CAUSE

19. As detailed further in Exhibit 1, David ROBINSON was a pharmacist who was
charged with conspiring to distribute oxycodone and alprazolam, in violation of 21 U.S.C. § 846
and several counts of the distribution of those drugs in violation of 21 U.S.C. § 841. On October
l(), 2018, ROBINSON plead guilty to one (l) count of conspiracy to distribute and possess with
intent to distribute Oxycodone and Alprazolam, in violation of 21 U.S.C. § 846, and sentencing
was scheduled for February 15, 2019.

20. While on release pending sentencing, investigators learned that ROBINSON was
continuing to sell prescription medications and made several controlled purchases of clonidine and
promethazine from him. They also learned that he had sought to have an individual murdered that
he believed cooperated with law enforcement against him and conducted several controlled
meetings and calls during which ROBINSON discussed his plans

21. On February 13, 2019, the Honorable J. Mark Coulson, United States Magistrate
Judge, issued search and seizure warrants for the following:

o A cellular telephone utilized by David ROBINSON, believed to be Cellphone No.
1‘1

 

l Although investigators believe that this warrant provides sufficient basis for the search of Cellphone No. l, a '
request for a further warrant is included out of an abundance of caution now that investigators have the specific
identifiers for the cell phone, as detailed above and on Attachment A.

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a

¢ ROBINSON’s residence located at 4 Coral Berry Court, Baltimore, Maryland
21209.
ROBINSON’s vehicles: a_2015 Mercedes SUV, 2011 BMW, and 1999 BMW.
The NEW FRANKFORD FAMILY PHARMACY, located at 5422 Sinclair Lane,
Baltimore, Maryland 21206.

¢ BREATHE 4 SURE PHARMACY SOLUTI_ONS, located at 643 N. Carey Street,
Baltimore, Maryland 21217.

0 9522 Axehead Court, Randallstown, Maryland 21133.

22. Judge Coulson also issued a criminal complaint charging ROBINSON With
committing a crime while on release, in violation of 18 U.S.C. § 3147, attempting to retaliate
against a witness in violation of 18 U.S.C § 1513, and attempted murder for hire, in violation of
18 U.S.C. § 1958.

23. On February 14, 2019, ROBINSON was arrested and the above warrants were
executed During a search incident to the arrest of ROBINSON, officers recovered from his person
Cellphone No. 1. A search of ROBINSON’s 2015 Mercedes SUV officers located Cellphone
No. 2 and Cellphone No. 3. During the search of ROBINSON’s residence, officers recovered
Computer No. 1 and Computer No. 2. During the search of the BREATHE 4 SURE
PHARMACY SOLUTIONS, officers recovered Cellphone No. 4, believed to belong to Maisha
MCCOY.

24. During the service of the earch and seizure warrants Agents and officers also

tt 5,9‘50¢.00 m _
recovered atr-undetermined amount of cash, one frrearm, Oxycodone, Hydrocodone, Xanax, sealed
pharmacy stock bottles of Clonidine, various prescription medications RX receipts documents
ordering invoices miscellaneous papers and other items of evidentiary value.

25. lnvestigators had found that recent order of drugs for the New Frankford Fam'rly

Pharmacy had been placed online. lnvestigators know that someone would have needed to use a

computer or other electronic device to place those online-orders Based on the search of

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ROBINSON’s residence, where Computer No. 1 and Computer No. 2 were found, it appeared
that ROBINSON had been attempting to operate the New Frankford Family Pharmacy from his
home Specifically, investigators found written prescriptions pharmacy labels with various
patient’s names invoice stickers U.S. Official ordering forms DEA~222, pharmacy records and
labels a fax machine, Computer No. 2, and stock pharmacy bottles containing Tramadol,
Alprazolam, Oxycodone, and Hydrocodone. l

26. lnvestigators also know that, during controlled calls and meetings with
ROBINSON he regularly used a cellular phone to communicate with the confidential source and
others Specifically, the CS indicated that he/she regularly communicated with ROBINSON via q
cell phone, both via text message and voice calls The calls the CS placed to ROBINSON in the
presence of law enforcement were to a number that came back to an AT&T proprietary phone
listed to a Prepaid Customer, with a billing address of 1730 Preston Road, Dallas, TX 75252. ` A
review of toll records for that phone also reflect that ROBINSON has continued to be _in contact
with several individuals who had previously filled prescriptions at the Frankford Family Pharmacy.

27. ROBINSON’s Mercedes SUV (where Cellphone No. 2 and Cellphone No. 3 were
found) was also used by ROBINSON on several occasions during controlled meetings with the
confidential source between December 13, 2018 and February 14, 2019. As a result, investigators
believe that these cellphones belong to ROBINSON and were used to facilitate the illegal
distribution of prescription medications

28. lnvestigators also know that ROBlNSON regularly communicated with MCCOY
via telephone A review of toll records show that ROBINSON’s cell phone had approximately
289 contacts with a phone registered to Breathe 4 Sure Pharmacy Solutions from May l, 2018 to

February 12, 2019.
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29. As a result, investigators believe there is probable cause to believe that Cellphone

Nos. 1-4 will contain the items listed on Attachment B.

CONCLUSION

29. Based upon the information set forth in this Affidavit, your Affiant submits that
probable cause exists to believe that the SUBIE(lT DEVICES (listed in Attachment A) contain
evidence of violations of Title 21 U.S.C. § 846 (Conspiracy to Distribute and Possess with lntent
to Distribute Controlled Substances), violations of Title 18 U.S.C. § 3147 (Commission of a Crime
while on Release), Maryland Criminal Code § 5-701 (Unauthorized Dispensing of a Prescription
Medication), Title 18 U.S.C. § 1513 (Retaliating Against a Witness), and Title 18 U.S.C. § 1958
' (Murder for Hire); specifically, the items listed on Attachment B and request a warrant to search

those devices using the Search Protocol in Attachment C.

Gler;r%te{r

Task Force Officer
Dmg Enforcement Administration

Subscribed and sworn to before me this Mf March, 2019.

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Urjitedetates Magistrate _l_udge

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ATTACHMENT “A”
The SUBJECT DEVICES are:
ITEM DESCRIPTION SEIZURE
LOCATION
Cellphone No. 1 Black LG cellphone, Seized from the
IMEI:353934093715384;SN:809VTDN371538, person of David
Attachment “D” ROBINSON
Cellphone No§ 2 Black LG cellphone with a cracked screen Seized from
IMEI: 354063082587114; SN: 2015 Mercedes
704CQGW258711, Attachment “E” SUV
Cellphone No. 3 Black Apple IPhone, (Model A1784), [MEI: Seized from
356565081254643, Attachment “F” 2015 Mercedes
SUV
Cell Phone No. 4 Apple IPhone 105 (IMEI: 353284077244104 Seized from
Model A1687, FCC-ID BCG-E2944A), Maisha
Attachment “G” ' MCCOY
Computer No. 1 Red HP laptop computer, SN: CND5250KSS, Seized from 4
(Model 15-AF075NR), Attachment “H” Coral Berry
Court,
Baltimore, MD
Computer N 0 2 HP Pavilion computer, SN: MXX61603ZL, Seized from 4
(Model 550-1533VV), Attachment “I” Coral Berry
Court,
Baltimore, MD

 

 

All of the aforementioned electronic devices are in the possession of the United States Drug
Enforcement Administration at its Baltimore District Office located at 200 St. Paul Place, Suite

2222, Baltimore, Maryland 21202.

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ATTACHMENT “B”

This warrant authorizes the search and seizure of all records contained within the electronic
devices described in Attachment A that relate to violations of Title 21 U.S.C. § 846 (Conspiracy
to Distribute and Possess with Intent to Distribute Controlled Substances), violations of Title 18
U.S.C. §3147 (Commission of a Crime while on Release), Maryland Criminal Code §5-701
(Unauthorized Dispensing of a Prescription Medication), Title 18 U.S.C. § 1513 (Retaliating
Against a Witness), and Title 18 U.S.C. § 1958 (Murder for Hire) by David ROBINSON and his
known and unknown co-conspirators, including, but not limited to:

images;

videos;

records of incoming and outgoing voice communications

records of incoming and outgoing text messages

the content of incoming and outgoing text messages;

voicemails;

e-mails;

voice recordings

contact lists;

J. data from third-party applications (including social media applications like
Facebook and Instagram and messaging programs like WhatsApp and Snapchat);

k. location data;

l, browser history;

rn bank records checks, credit card bills account information and other financial
records '

n. evidence of user attribution showing who used or owned the Subject Device at the

time the things described in this warrant were created, edited, or deleted, such as

logs phonebooks, saved usernames and passwords, documents and browsing

history.

newspapers

.:_..

As used above, the term “records” includes all of the foregoing items of evidence in
whatever form and by whatever means they may have been created or stored, including any form
of computer or electronic storage (such as flash memory or other media that can store data) and
any photographic form.

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ATTACHMEN'I` “C”

Because of the possibility that the files examined pursuant to this warrant will include
information that is beyond the scope of what the United States has demonstrated the existence of
probable cause to search for, the search shall be conducted in a manner that will minimize to the
greatest extent possible the likelihood that files or other information for which there is not probable
cause to search is not viewed. ' '

While this protocol does not prescribe the specific search protocol to be used, it does
contain limitations as to what government investigators may view during their search, and the
searching investigators shall be obligated to document the search methodology used in the event
that there is a subsequent challenge to the search that was conducted, pursuant to the following
protocol:

With respect to the search of any digitally/electronically stored information that is seized
pursuant to this warrant, and described in Attachment B hereto, the search procedure shall include
such reasonably available techniques designed to minimize the chance that the government
investigators conducting the search will view information that is beyond the scope for which
probable cause exists

The following list of techniques is a non-exclusive list which illustrates the types of search
methodology that may avoid an overbroad search, and the government may use other procedures
that, like those listed below, minimize the review of information not within the list of items to be
seized as set forth herein:

1. Use of computer search methodology to conduct an examination of all the data
contained in such computer hardware, computer software, and/or memory storage
devices to determine whether that data falls within the items to be seized as set forth
herein by specific date ranges names of individuals or organizations;

2. Searching for and attempting to recover any deleted, hidden or encrypted data to
determine whether that data falls within the list of items to be seized as set forth herein;

3. Physical examination of the storage device, including digitally surveying various file
directories and the individual files they contain to determine whether they include data
falling within the list of items to be seized as set forth herein; and

4. Opening or reading portions of files that are identified as a result of conducting digital
search inquiries in order to determine their relevance

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